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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11

                                                      Case No. 20-10343 (LSS)

    BOY SCOUTS OF AMERICA AND                         Jointly Administered
    DELAWARE Boy Scouts, LLC, 1
                                                      Re: Docket No. 1479

                                 Debtors.


 CENTURY’S OBJECTION TO PROPOSED FORM OF ORDER APPROVING THE
 STIPULATION REGARDING MOTION OF THE OFFICIAL TORT CLAIMANTS’
COMMITTEE PURSUANT TO BANKRUPTCY RULE 2004 AND LOCAL RULE 2004-1
    FOR AN ORDER AUTHORIZING THE ISSUANCE OF SUBPOENAS FOR
      DISCOVERY FROM DEBTORS AND CERTAIN LOCAL COUNCILS

             The Debtors excluded Century from negotiation of the Stipulation that it filed with the

Court on Sunday, October 11, 2020. 2 Although Century requested a draft of the Stipulation prior

to its submission, the Debtors declined this request also. By this Stipulation, the Debtors and any

Local Councils that individually consent, agree to search for and provide various documents to

the TCC.

             The Debtors do not explain why an order is necessary, what they intend to produce or

what they contemplate approval of the stipulation means in this context. Century submits that no

order is necessary. If an order is entered, however, Century respectfully requests that the




1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware Boy Scouts, LLC
      (4311). The Debtors’ mailing address is 1325 West Walnut Lane, Irving, Texas 75038.
2
      On October 11, 2020, Debtors, the Ad Hoc Committee of Local Councils, and the Tort Claimants’
      Committee (“TCC”) submitted the Stipulation Regarding Motion of the Official Tort Claimants’
      Committee Pursuant to Bankruptcy Rule 2004 and Local Rule 2004-1 for An Order Authorizing the
      Issuance of Subpoenas for Discovery from Debtors and Certain Local Councils (the “Stipulation”)
      for the Court’s approval. D.I. 1479.


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following language be added to the Debtors’ proposed order to clarify that the Court is neither

ordering nor granting permission to either the Debtors or any Local Council to disclose

privileged information by entry of its order:

        Nothing in this order shall be read to authorize any Party to produce documents or
        information subject to the attorney-client privilege, the work-product doctrine, or
        any other applicable privilege.”

        This Court included the same language to the Protective Order entered on June 8, 2020:

“Nothing in this order shall be read to authorize any Party to produce documents or information

subject to the attorney-client privilege, the work-product doctrine, or any other applicable

privilege.” D.I. 799-1 ¶ 8.5. Century simply seeks the same assurances with respect to this

Stipulation.

        The communications among insurers and Debtors implicating the defense are privileged

as to the Tort Claimants, as this Court held in In re Imerys. 3 As the Court held there, because

“any documents produced . . . in this litigation will come into the hands of an adversary in the

underlying tort litigation,” certain privileged documents may not be produced, including insurer-

insured communications containing legal analysis and attorney work product regarding

underlying tort litigation. 4 The ruling applied to attorney-client communications involving

underlying defense counsel and communications between insurers and Debtors that contained




3
    See In re Imerys, Adv. No. 19-50115-LSS, Dkt. 159, Order on Privileged Documents at 10; John
    Morrell & Co. v. Local Union 304A of United Food & Commercial Workers, AFL-CIO, 913 F.2d
    544, 556 (8th Cir. 1990) (holding that one party cannot waive common interest privilege of a
    document shared by another party, noting that “[i]t is fundamental that the joint defense privilege
    cannot be waived without the consent of all parties to the defense”) (internal quotation marks and
    citation omitted).
4
    In re Imerys, Adv. No. 19-50115-LSS, Dkt. 159, Order on Privileged Documents at 13.


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privileged attorney work product that could not be disclosed to the Debtors’ adversaries in the

tort system. 5

Dated: October 13, 2020                                 Respectfully Submitted,


                                                        By:   /s/ Stamatios Stamoulis
                                                              Stamatios Stamoulis (#4606)

                                                        STAMOULIS & WEINBLATT LLC
                                                        800 N. West Street
                                                        Third Floor
                                                        Wilmington, Delaware 19801
                                                        Telephone: 302 999 1540
                                                        Facsimile: 302 762 1688

                                                        O’MELVENY & MYERS LLP
                                                        Tancred Schiavoni (pro hac vice)
                                                        Janine Panchok-Berry (pro hac vice)
                                                        Times Square Tower
                                                        7 Times Square
                                                        New York, New York 10036-6537
                                                        Telephone: 212 326 2000
                                                        Facsimile: 212 326 2061

                                                        Counsel for Century Indemnity Company, as
                                                        successor to CCI Insurance Company, as
                                                        successor to Insurance Company of North
                                                        America and Indemnity Insurance Company of
                                                        North America, Westchester Fire Insurance
                                                        Company and Westchester Surplus Lines
                                                        Insurance Company




5
    See id. at 14–15 (concluding that the coverage/reservation of rights letters are work product and may
    not be disclosed to the Tort Claimants).


                                                    3
